                                         UNITED STATES DISTRICT COURT
     Reset Form                          WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                        Secret Indictment
Greene / Southern
                                                                                        Juvenile
Defendant Information
Defendant Name:            Willie Murry, Jr.

Alias Name:

Birth Date:               09/10/1982
Related Case Information
Superseding Indictment?            Yes     ■   No If yes, original case number:
New Defendant(s)?              ■   Yes         No
Prior Complaint Case Number, if any:       24-mj-02005DPR

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Eatmon, Jessica R.

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
■   Currently in Federal Custody                                                    Writ Required?             Yes         ■   No
    Currently in State Custody                                                                                 Yes         ■   No
                                                                                    Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts         3 w/FA

     Set                       Index Key & Description of Offense Charged                                   Count(s)

      1        21:846=CD.F CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE                                       1

      2        21:841B=CP.F CONTROLLED SUBSTANCE - POSSESSION WITH INTENT TO DIST                              2

      3        18:1952-7460.F RACKETEERING - NARCOTICS                                                         5

      4        21:853.F CRIMINAL FORFEITURES                                                                  FA



                                                    (May be continued on reverse)                             revised: 07/28/2021
                    Case 6:24-cr-03019-BCW Document 53-2 Filed 02/06/24 Page 1 of 2
Set            Index Key & Description of Offense Charged               Count(s)


5


6


7


8


9


10


11


12


13


14


15


16


17


18


19


20


21


22


23


24


25


      Case 6:24-cr-03019-BCW Document 53-2 Filed 02/06/24 Page 2 of 2
